 Case 2:21-cv-02919-RGK-MAR Document 24-4 Filed 05/28/21 Page 1 of 2 Page ID #:129



1                 DECLARATION OF SPECIAL AGENT JUSTIN PALMERTON

2         I, Special Agent Justin Palmerton, declare as follows:

3         1.   I am a Special Agent with the FBI.

4         2.   I personally participated in the inventorying of the

5    contents of the safety deposit boxes at U.S. Private Vaults (“USPV”).

6    While inventorying the contents of the safety deposit boxes, agents

7    recovered drugs including fentanyl and OxyContin, firearms including

8    a Glock, and a variety of ways of storing wealth anonymously, such as

9    gold bullion and especially cash.      Most of the boxes which were not
10   empty contained stacks of $100 bills; many of the boxes were filled
11   with such stacks.   The largest boxes typically contained over $1
12   million in cash each.    Drug detecting dogs alerted to most of the
13   stashes of cash, but not all.
14        3.   There is no practice or policy of conducting a “criminal”
15   investigation on each box or request to return property, which are
16   treated individually.    No criminal investigation is undertaken absent
17   suspicion.   Boxes containing suspiciously large sums of cash to which
18   drug detecting dogs alerted are likely to be criminally investigated,

19   while boxes containing items normally stored in a safety deposit box

20   likely will not.

21        4.   The FBI has already verified that at least one request for

22   return of the contents of a box that the FBI received was actually

23   made by a person who never rented a box at USPV, and had no

24   connection to USPV, but hoped for a windfall.

25   / / /

26   / / /

27   / / /

28   / / /

                                           44
Case 2:21-cv-02919-RGK-MAR Document 24-4 Filed 05/28/21 Page 2 of 2 Page ID #:130




   1           5.   The FBI has been returning contents to boxes to persons the
   2   FBI could verify as the owners of the box and property in the box.
   3           I declare under penalty of perjury under the laws of the United
   4   States of America that the foregoing is true and correct and that
   5   this declaration is executed in Los Angeles, California on May 25,
   6   2021.
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                           45
